      Case 6:21-cv-00162-ADA-JCM Document 154 Filed 06/15/21 Page 1 of 3                          FILED
                                                                                                 June 15, 2021
                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                           WESTERN DISTRICT OF TEXAS

                                                                                                         BW
                                                                                        BY: ________________________________
                   IN THE UNITED STATES DISTRICT COURT FOR THE                                                  DEPUTY
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 JEREMY BRAVO, LINDSEY NGUYEN, et
 cit,

          Plain tiffs,                                Case No.: 21-cv-162-ADA-JCM
 V.


 NANCY PELOSI, MITCH McCONNELL,
 et at,

          Defendants.

                           MOTION FOR ADMISSION PRO HAC VICE

          Lauren Ray, applicant herem, moves tills Court to grant admission to the United Stated

 District Court for the \X’estern District of Texas pro tuc ,ice to represent Oklahoma Governor

 Kevin Stitt in this case and would respectfully show the Court as follows:

           1.       The undersigned is an Assistant Attorney General in the State of Oklahoma with

OffiCes   at:

                    Marling Address:       Office of Attorney General
                                           313 NE 2ist St.
                                           Oklahoma City, OK 74105
                    Telephone:             405.521.3921
                    Facsimile:             405.521.4518
                    Email:                 lauren.ray@oag.ok.gov

           2.       Since September 22, 2009, the undersigned has been and presently is a member    in


good standing with the Oklahoma Bar Association. Mi Oklahoma Bar Number is #22694.

           3.       The undersigned has been admitted to practice before the following Courts:

                     Court                                Admission Date

                     All Oklahoma State Courts            September 2009/Active
     Case 6:21-cv-00162-ADA-JCM Document 154 Filed 06/15/21 Page 2 of 3




                 United States District Court for      November 2009/Active
                 the \X’estern District of Oklahoma

                 United States District Court for      November 2009/Active
                 the Eastern District of Oklahoma

                 United States District Court for      November 2009/Active
                 the   Northern      District  of
                 Oklahoma

                 United States Tenth Circuit Court     November 2009/Active
                 of Appeals

        4.      The undersigned is presently a member    in   good standing of the bars of the Courts

listed above.

        5.      The undersigned has not previously applied to appear pro hut rice     in   the Western

District of Texas. The undersigned did submit an Application for Admission to this Court on June

15, 2021 as a member of the Texas State Bar since 2012, but due to the need to file a responsive

pleading in this matter on or before June 24, 2021, the undersigned submits the instant motion.

        6.      The undersigned has never been subject to grievance proceedings or involuntary

removal proceedings while a member of the bar of any state or federal court.

        7.      The undersigned has not been charged, arrested, or convicted of a crhninal offense

or offenses.

        8.      The undersigned has read and is familiar with the Local Rules of the Western

District of Texas and will comply with the standards of practice set out therem.

        9.      As an attorney employed by a governmental entitr and pursuant to Local Court

Rule AT-1(G), the undersigned seeks piv hac rice admission in this case without association of Texas

counsel and payment of the fee for said admission.
     Case 6:21-cv-00162-ADA-JCM Document 154 Filed 06/15/21 Page 3 of 3




        WHEREFORE, the undersigned prays this Court enter an order permitting her admission

to the ‘Testern District of Texas pro   hut met.


                                                   R sp    tfulh’ subnntt


                                                   LAUREN RAY, OBA#22 4
                                                   Assistant Attorney General
                                                   Oklahoma Attorney General’s Office
                                                   313 NE 21st Street
                                                   Oklahoma City, OK 73105
                                                   Telephone:       (405) 521-3921
                                                   facsimile:       (405) 521-4518
                                                   Email: laurn.rav,oag.ok.gov
                                                   Attorney Jbr Ok/uhorna Go,’ernor Ketiin Stttt

                                 CERTIFICATE OF SERVICE

         I hereby certift that on this 15th day of June 2021, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing. I further certify that a
true and correct copy of the foregoing document was sent via the Court’s ECF System to all
registered parties.




                                                   Lauren Ray
                                                             IA             1’w
